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      BANC OF CALIFORNIA, INC.
  9
 10                          UNITED STATES DISTRICT COURT

 11                         CENTRAL DISTRICT OF CALIFORNIA
 12
      IN RE BANC OF CALIFORNIA                   SACV 17-00118 AG (DFMx)
 13   SECURITIES LITIGATION                      consolidated with
                                                 SACV 17-00138 AG (DFMx)
 14
                                                 DEFENDANT BANC OF
 15                                              CALIFORNIA’S NOTICE OF
 16                                              MOTION AND MOTION TO
                                                 DISMISS THE CONSOLIDATED
 17                                              AMENDED COMPLAINT, AND
                                                 MEMORANDUM OF POINTS AND
 18                                              AUTHORITIES IN SUPPORT
 19                                              THEREOF

 20                                              Judge: Honorable Andrew J. Guilford
                                                 Date:  August 14, 2017
 21                                              Time: 10:00 a.m.
                                                 Place: Department 10D
 22
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 28
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  1   ALL PARTIES AND THEIR COUNSEL OF RECORD:
  2          PLEASE TAKE NOTICE that on August 14, 2017, at 10:00 a.m., or at such
  3   later date and time as the Court may order, in the Courtroom of the Honorable
  4   Andrew J. Guilford, Courtroom 10D, United States District Court, Central District
  5   of California, located at 411 West 4th Street, Santa Ana, California, Defendant
  6   Banc of California, Inc. will and hereby does move for an Order dismissing the
  7   Consolidated Amended Complaint for Violation of the Federal Securities Laws
  8   dated May 31, 2017 (“Complaint”). This Motion is made pursuant to the Private
  9   Securities Litigation Reform Act of 1995 and Federal Rule of Civil Procedure
 10   12(b)(6), on the grounds that the Complaint fails to state a claim upon which relief
 11   can be granted.
 12          This Motion is made following the conference of counsel pursuant to L.R. 7-
 13   3, which took place on June 23, 2017, and is based on this Notice of Motion and
 14   Motion, the accompanying Memorandum of Points and Authorities, Defendants’
 15   Joint Request for Judicial Notice and for Incorporation of Documents by Reference,
 16   the Declaration of Mark R. McDonald and exhibits thereto, the Complaint, the
 17   Court’s record in this matter, the arguments of counsel, and any other materials that
 18   the Court may consider prior to its decision on this Motion.
 19
 20                                           Respectfully submitted,
 21   Dated:       June 30, 2017                 MORRISON & FOERSTER LLP
 22
 23                                              By:    Mark R. McDonald
                                                       Mark R. McDonald
 24
                                                 Attorneys for Defendant Banc of
 25                                              California, Inc.
 26
 27
 28
                                                   i
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  1                                    INTRODUCTION
  2          In 1995, Congress passed the Private Securities Litigation Reform Act “to
  3   reduce the volume of abusive federal securities litigation by erecting procedural
  4   barriers to prevent plaintiffs from asserting baseless securities fraud claims.” In re
  5   Silicon Graphics Inc. Sec. Litig., 183 F.3d 970, 977 (9th Cir. 1999). Plaintiff’s
  6   Consolidated Amended Complaint (“Complaint”) here does not come close to
  7   meeting the “exacting pleading standards” created by the PSLRA for multiple
  8   reasons. Or. Pub. Emps. Ret. Fund v. Apollo Grp. Inc., 774 F.3d 598, 604 (9th Cir.
  9   2014).
 10          First, Plaintiff fails to plead a material misrepresentation or omission—much
 11   less with the particularity required by the PSLRA. The Complaint is premised on
 12   the notion that Defendants had a duty to disclose, but failed to disclose, purported
 13   connections between Jason Galanis, a “notorious fraudster,” and Defendant Banc of
 14   California (“Company”), its CEO, Defendant Steven Sugarman, and others at the
 15   Company. However, Plaintiff’s only source of information about those alleged
 16   connections with Galanis is an October 18, 2016 blog, published on
 17   SeekingAlpha.com (“the Blog”) by an anonymous short-seller with the pen name
 18   “Aurelius,” who expressed his opinion, based on “publicly available information,”
 19   that Galanis somehow controlled the Company. Aurelius was making “no
 20   representation as to the accuracy or completeness of the information set forth” in
 21   the Blog. The Company, however, has never announced that Galanis had improper
 22   connections with the Company or any of its officers and directors. To the contrary,
 23   two independent investigations into these alleged ties each found no evidence that
 24   Jason Galanis had any direct or indirect control or undue influence over the
 25   Company. Courts agree that a blog by a short seller, as here, that merely packages
 26   publicly available information and expresses opinions based on that information
 27   does not constitute “true” facts that a company had a duty to disclose earlier. In all
 28   events, Plaintiff does not show how the contents of the Blog—even if accurate,
                                                 1
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   1   which they weren’t—rendered any prior affirmative statement by the Company
   2   false or misleading. The Company had never made any statements that
   3   misleadingly suggested there were no such connections.
   4          Further, because Aurelius admitted the Blog was based entirely on “publicly
   5   available” information, the information in the Blog was not material as a matter of
   6   law.
   7          Second, Plaintiff fails to plead the required strong inference of scienter. In
   8   attempting to do so, Plaintiff offers nothing more than “facts” lifted from the
   9   Blog—whose opinions have no indicia of reliability—and the resignations of the
  10   Individual Defendants (Steven Sugarman and James J. McKinney). That is not
  11   sufficient. Indeed, given nothing that was “revealed” in the Blog was “concealed,”
  12   it makes no sense that any Defendant was attempting to mislead investors.
  13          Third, Plaintiff fails to plead loss causation. The Blog was not a corrective
  14   disclosure given it admittedly revealed only an opinion by a short seller, not the
  15   disclosure of the truth—and it is the revelation of a truth that is necessary to
  16   establish loss causation. Other later disclosures on which Plaintiff relies are
  17   similarly insufficient to plead loss causation under settled, Ninth Circuit law. In
  18   particular the disclosure that the SEC is conducting an investigation does not reveal
  19   that any prior statement by a company was false or misleading. Because Plaintiff’s
  20   loss causation allegations cannot be cured, dismissal with prejudice is warranted.
  21                                     BACKGROUND1
  22          A.     The Parties.
  23          Lead Plaintiff, Iron Workers Local 25 Pension Fund (“Plaintiff”),
  24   purportedly purchased common stock of the Company during the Class Period
  25
  26   1
        The facts in this Background section are drawn from Plaintiff’s allegations, as
       well as the documents incorporated by reference into the Complaint or subject to
  27   Banc of California’s Request for Judicial Notice.
  28
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   1   (October 29, 2015 – January 20, 2017). (¶ 1.)2
   2          The Company, headquartered in Santa Ana, California, is a financial holding
   3   company regulated by the Federal Reserve Board. (¶ 19; Ex. 7 at 5.) It provides
   4   both deposit products and lending products. (Ex. 7 at 5.) Defendant Steven
   5   Sugarman served as the Company’s Chairman, President, and CEO until January
   6   2017. (¶ 20.) Defendant James J. McKinney served as Chief Financial Officer
   7   from November 2015 until September 20, 2016. (¶ 21.)
   8          B.     The October 18, 2016 SeekingAlpha.com Blog
   9          On October 18, 2016, an anonymous SeekingAlpha.com blogger with the pen
  10   name “Aurelius” published a blog entitled, “BANC: Extensive Ties to Notorious
  11   Fraudster Jason Galanis Make Shares Un-Investible.” (Ex. 12.) Aurelius
  12   acknowledged in the Blog that it was “short” the Company’s stock—that the
  13   blogger profited if the Company’s stock declined. (Id. at 28.) The Blog
  14   characterized itself as a “research opinion,” and stated that it “represent[ed] the
  15   opinion of the author as of the date of” the Blog. (Id.) A “Disclaimer” included
  16   with the Blog stated, “[a]ll information for this article was derived from publicly
  17   available information.” (Id. at 2.) The “Disclaimer” further added, “The author
  18   makes no representation as to the accuracy or completeness of the information set
  19   forth in this article . . . . The author may also cover his/her short position at any []
  20   time without providing notice.” (Id.)
  21          The Blog claimed that based on a review of “publicly-available state, federal,
  22   and international documents, . . . [o]ur research establishes that BANC’s senior-
  23   most officers and board members have a broad mosaic of extensive and
  24   indisputable ties to Jason Galanis. We believe this introduces a significant
  25   undiscounted risk that notorious criminals gained control over the $10 Billion
  26
       2
  27    All references to “¶” are to the Complaint. All references to numbered exhibits
       are to those attached to the Declaration of Mark R. McDonald.
  28
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   1   taxpayer guaranteed Banc of California.” (Id. at 3.) “Key research conclusions” of
   2   the Blog included claims that “Galanis controlled COR, Banc’s founding
   3   shareholder,” “an off-balance sheet lender controlled by Banc’s senior-most
   4   officers financed Galanis,” and “Banc’s lead ‘independent’ director [Chad
   5   Brownstein] has strong ties to Galanis.” (Id. at 4.) After summarizing these “key
   6   research conclusions,” the Blog reiterated that “[a]ll information for this article
   7   was derived from publicly available information. The author(s) have a short
   8   position in Banc Of California. Investors are strongly encouraged to conduct their
   9   own due diligence into these factors.” (Id. at 4 (emphasis in original).)
  10           C.    The Company’s October 18, 2016 Press Release
  11           Following publication of the Blog, on October 18, 2016, the Company
  12   released a press release in which it announced that “[t]he Company’s Board of
  13   Directors has been aware of matters relating to Jason Galanis including certain
  14   claims he had made suggesting an affiliation with members of the Company, its
  15   Board, and/or its Executive team.” (Ex. 1 at 1.) The press release further stated
  16   that “[t]he Board, acting through its Disinterested Directors, immediately initiated a
  17   thorough independent investigation led by Winston & Strawn, and has received
  18   regular reports including related to regulatory and governmental communications
  19   over the past year.” (Id.) The press release explained that a “complaint filed by the
  20   Department of Justice against Mr. Galanis and others dated May 9, 2016 . . . clearly
  21   states that Mr. Galanis’ claims to be affiliated with COR Capital were fraudulent.”
  22   (Id.)
  23           Plaintiff asserts that following the publication of the Blog, the Company’s
  24   stock price dropped from $15.87 per share to $11.26 per share. (¶ 7.)
  25           D.    The Company’s Disclosures After The Class Period Ends
  26           Although the class period ends on January 20, 2017, meaning any “fraud”
  27   ended by that date, the Complaint inexplicably includes allegations about
  28   disclosures after January 20, 2017.
                                                  4
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   1                 1.     The Company’s January 23, 2017 announcements
   2           On January 23, 2017, the Company issued a press release entitled, “Banc of
   3   California Board Provides Update on Independent Investigation; Plans
   4   Improvements to Corporate Governance Policies.” (Ex. 2.) The press release
   5   discussed several topics.
   6           First, the press release stated that the allegations contained in the Blog had
   7   become the subject of a Special Committee investigation and that the Special
   8   Committee had “retained WilmerHale, a law firm with no prior relationship with
   9   the Company, to conduct an independent investigation” into the allegations. (Id. at
  10   1.) According to the press release, “[w]hile certain work remains to be completed,
  11   to date Wilmer Hale’s inquiry has not found any violation of law. In addition,
  12   contrary to the claims in the Blog, the inquiry has not found evidence that Jason
  13   Galanis has any direct or indirect control or undue influence over the Company.”
  14   (Id.)
  15           Second, the press release noted that “the Special Committee has determined
  16   that a press release issued on October 18, 2016 contained inaccurate statements”
  17   with respect to three issues: (1) although the October 2016 press release stated that
  18   the Company’s previous investigation into issues raised by the Blog was initiated
  19   by its Board of Directors, it was initiated by “Company management”; (2) although
  20   the October 2016 “press release characterized the investigation as ‘independent,’” it
  21   did not “disclos[e] that the law firm conducting the investigation had previously
  22   represented both the Company and the Company’s CEO individually”; and (3) the
  23   October 2016 press release “overstated both the degree to which the Company had
  24   been in contact with regulatory agencies about the subject matter referenced in the
  25   Blog, as well as the involvement of the directors in oversight or direction of the
  26   inquiry.” (Id. at 1-2.)
  27           Third, the press release disclosed that on January 12, 2017, the Securities and
  28   Exchange Commission (“SEC”) “issued a formal order of investigation directed at
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   1   certain of the issues that the Special Committee is reviewing. Also on January 12,
   2   2017, the SEC issued a subpoena seeking certain documents from the Company,
   3   primarily relating to the October 18, 2016 press release and associated public
   4   statements.” (Id. at 2.)
   5          On January 23, 2017, the Company issued a separate press release
   6   announcing the resignation of Steven Sugarman. (Ex. 3.)
   7                 2.     The Company’s February 9, 2017 announcement that
                            WilmerHale had completed its investigation
   8
   9          On February 9, 2017, the Company issued a press release announcing that
  10   “WilmerHale has made a final report to the Special Committee . . . and has
  11   confirmed its earlier conclusion that the inquiry has not found any violation of
  12   law.” (Ex. 4.) The press release further noted that “contrary to the claims in the
  13   Blog, WilmerHale did not find evidence that Jason Galanis has had any direct or
  14   indirect control or undue influence over the Company. Furthermore, the inquiry did
  15   not find that any loan, related party transaction, or any other circumstance had
  16   impaired the independence of any director.” (Id.)
  17                 3.     The Company discloses material weaknesses in internal
                            controls but no material misstatements
  18
  19          On March 1, 2017, the Company identified certain material weaknesses in its
  20   internal controls over financial reporting as of September 30, 2016. (¶ 47.)
  21   Nevertheless, “no material misstatement was identified in the financial statements”
  22   as a result of these material weaknesses. (Ex. 7 at 192.) The Company announced
  23   the adoption of various measures to remediate the material weaknesses that were
  24   identified. (Id. at 193.)
  25          E.     Plaintiff’s Allegations
  26          The Complaint alleges that numerous statements during the Class Period
  27   were materially false and misleading because of (1) the alleged “concealment” of
  28   the Company’s alleged associations with Jason Galanis (¶¶ 59, 61, 66, 72, 77 82);
                                                 6
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   1   (2) the alleged “concealment” of the purported lack of independence of Mr.
   2   Brownstein, the Company’s “Lead Independent Director” (id.); and (3) “Banc’s
   3   admitted material weaknesses in [] internal controls” that allowed Defendants to
   4   “conceal” the alleged associations with Galanis (id.).
   5          Based on these allegations, Plaintiff asserts claims under Section 10(b) of the
   6   Securities and Exchange Act (the “Exchange Act”) and Rule 10b-5 thereunder
   7   against the Company, Mr. Sugarman, and Mr. McKinney (collectively,
   8   “Defendants”). (¶¶ 121-125.) Plaintiff also asserts a claim against Defendants for
   9   alleged violation of Section 20(a) of the Exchange Act. (¶¶ 126-127.)
  10                                       ARGUMENT
  11   I.     PLAINTIFF MUST SATISFY EXACTING PLEADING
              REQUIREMENTS
  12
  13          To state a Section 10(b) claim, Plaintiff must plead particularized facts
  14   showing: “(1) a material misrepresentation or omission by the defendant; (2)
  15   scienter; (3) a connection between the misrepresentation or omission and the
  16   purchase or sale of a security; (4) reliance upon the misrepresentation or omission;
  17   (5) economic loss; and (6) loss causation.” Halliburton Co. v. Erica P. John Fund,
  18   Inc., 134 S. Ct. 2398, 2407 (2014) (citations omitted). In addition to the heightened
  19   pleading requirements established by the PSLRA, each element of a Section 10(b)
  20   claim is also subject to the heightened pleading standard of Fed. R. Civ. P. 9(b).
  21   Apollo, 774 F.3d at 605.
  22          “Under the PSLRA, to properly allege falsity, a securities fraud complaint
  23   must [] ‘specify each statement alleged to have been misleading, the reason or
  24   reasons why the statement is misleading, and, if an allegation regarding the
  25   statement or omission is made on information and belief, . . . state with particularity
  26   all facts on which that belief is formed.’” In re Rigel Pharms., Inc. Sec. Litig., 697
  27   F.3d 869, 877 (9th Cir. 2012) (quoting 15 U.S.C. § 78u-4(b)(1)). As the Ninth
  28   Circuit has held: “A litany of alleged false statements, unaccompanied by the
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   1   pleading of specific facts indicating why those statements were false, does not meet
   2   this standard.” Metzler Inv. GMBH v. Corinthian Colls., Inc., 540 F.3d 1049, 1070
   3   (9th Cir. 2008).
   4          Section 10(b) and Rule 10b-5(b) do not create an affirmative duty to disclose
   5   any and all material information. Matrixx Initiatives, Inc. v. Siracusano, 563 U.S.
   6   27, 44-45 (2011). Disclosure is required under these provisions only when
   7   necessary “to make . . . statements made, in the light of the circumstances under
   8   which they were made, not misleading.” 17 C.F.R. § 240.10-b-5(b); see also Basic
   9   Inc. v. Levinson, 485 U.S. 224, 239 (1988) (“Silence, absent a duty to disclose, is
  10   not misleading under Rule 10b-5.”).
  11   II.    PLAINTIFF FAILS TO PLEAD PARTICULARIZED FACTS
              SUFFICIENT TO SHOW A MATERIAL MISREPRESENTATION OR
  12          OMISSION
  13          A.     Plaintiff Fails to Plead Particularized Facts Showing the Company
                     Fraudulently Concealed Its Alleged “Associations with Jason
  14                 Galanis” or Mr. Brownstein’s Alleged Lack of Independence
  15          Relying on the Blog, Plaintiff alleges that numerous statements during the
  16   Class Period were false and misleading due to Defendants’ purported concealment
  17   of (a) the Company’s alleged associations with Jason Galanis and (b) Mr.
  18   Brownstein’s alleged lack of independence. (¶¶ 59, 61, 66, 72, 77 82.) These
  19   allegations fail on multiple levels.
  20          First, Plaintiff fails to establish any purported “associations” between the
  21   Company and Galanis, and likewise fails to establish Mr. Brownstein’s lack of
  22   independence. Second, even if Plaintiff were able to establish these underlying,
  23   threshold “facts,” Plaintiff fails to show how even if such facts existed, the alleged
  24   concealment of the “facts” made any statement false or misleading when made.
  25   Third, these fatal defects notwithstanding, because the allegedly “concealed”
  26   “facts” contained in the Blog—which is all Plaintiff relies upon—were “publicly
  27   available,” they are immaterial as a matter of law and cannot form the basis of any
  28   Section 10(b) claim.
                                                  8
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   1                 1.     Plaintiff improperly relies on the Blog to establish the
                            Company’s alleged “associations with Jason Galanis” and
   2                        Mr. Brownstein’s alleged lack of independence
   3          In order to establish the Company’s alleged “associations with Jason
   4   Galanis” and Mr. Brownstein’s alleged lack of independence, Plaintiff relies wholly
   5   on the Blog. (¶¶ 30-37, 44.) This is improper because there are no facts
   6   demonstrating that the Blog’s anonymous, short-selling author, “Aurelius,” has any
   7   personal knowledge of the matters set forth in the Blog.
   8          The Ninth Circuit has made clear that in order to surmount the exacting
   9   pleading requirements of the PSLRA, plaintiffs may not rely on unnamed sources
  10   unless they describe the sources “with sufficient particularity to establish their
  11   reliability and personal knowledge” of the facts alleged. Zucco Partners LLC v.
  12   Digimarc Corp., 552 F.3d 981, 995 (9th Cir. 2009), aff’d, No. 06-35758, 2009 U.S.
  13   App. LEXIS 7025 (9th Cir. Feb. 10 2009). Where a complaint fails to “provide an
  14   adequate basis for determining that the witnesses in question have personal
  15   knowledge of the events they report,” the allegations made by such witnesses may
  16   not be relied upon and are entitled to no weight. Id.; see also id. at 996
  17   (disregarding allegations of confidential witness who had “no firsthand knowledge
  18   of” facts alleged); see also Brodsky v. Yahoo! Inc., 592 F. Supp. 2d 1192, 1202
  19   (N.D. Cal. 2008) (statements by confidential witness who lacked “firsthand
  20   knowledge” of facts could not support allegations of fraud).
  21          Here, Plaintiff pleads no facts to “provide an adequate basis for determining
  22   that [Auerelius has] personal knowledge of the events” reported in the Blog. See
  23   Zucco, 552 F.3d at 995. Nor could Plaintiff do so. The Blog makes clear that it is
  24   merely a “research opinion” and “represents the opinion of the author as of the date
  25   of this article.” (Ex. 12 at 2.) It further states that “[a]ll information for this article
  26   was derived from publicly available information,” but “such information and
  27   sources cannot be guaranteed as to their accuracy or completeness. The author
  28
                                                    9
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   1   makes no representation as to the accuracy or completeness of the information set
   2   forth in this article . . . .” (Id. (emphasis added).)
   3          Far from being reliable sources of information, “short sellers operate by
   4   speculating that the price of a security will decrease” and therefore “they have an
   5   obvious motive to exaggerate the infirmities of the securities in which they
   6   speculate.” In re Longtop Fin. Techs. Ltd. Sec. Litig., 910 F. Supp. 2d 561, 577
   7   (S.D.N.Y. 2012).
   8                 2.     Plaintiff fails to plead facts showing the concealment of any
                            alleged facts made any statement false or misleading
   9
  10          Assuming for the sake of argument that Plaintiff had sufficiently alleged that
  11   there were “connections” between Galanis and the Company, Plaintiff fails to show
  12   that any prior Company statements were misleading.
  13          Section 10(b) and Rule 10b–5(b) do not create an affirmative duty to disclose
  14   any and all information, even if it is determined that the information in question is
  15   material. Matrixx Initiatives, 563 U.S. 27 at 44-45. Instead, disclosure is required
  16   only when necessary “to make . . . statements made, in the light of the
  17   circumstances under which they were made, not misleading.” Id. (quoting 17
  18   C.F.R. § 240.10b–5(b)). “In other words, plaintiffs cannot simply allege that an
  19   omission was material to properly allege falsity; rather, plaintiffs must show that
  20   the omission actually renders other statements misleading.” Lomingkit v. Apollo
  21   Educ. Grp. Inc., No. CV-16-00689-PHX-JAT, 2017 WL 633148, at *11 (D. Ariz.
  22   Feb. 17, 2017) (citing Rigel Pharms., 697 F.3d at 880 n.8); see also Brody v.
  23   Transitional Hosps. Corp., 280 F.3d 997, 1006 (9th Cir. 2002) (Section 10(b)
  24   “complaint must specify the reason or reasons why the statements made by [the
  25   defendants] were misleading or untrue, not simply why the statements were
  26   incomplete.”(emphasis added)).
  27          Plaintiff fails to do so here. Plaintiff instead simply alleges that a litany of
  28   statements made by Defendants concerning the Company’s success going all the
                                                   10
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   1   way back to October 29, 2015 were false or misleading due to the alleged
   2   concealment of the Company’s associations with Jason Galanis. (¶¶ 59, 61, 66, 72,
   3   77, 82.) But Plaintiff fails to offer any explanation regarding how any particular
   4   statement was rendered false or misleading due to this alleged concealment. See
   5   Metzler, 540 F.3d at 1070 (“A litany of alleged false statements, unaccompanied by
   6   the pleading of specific facts indicating why those statements were false, does not
   7   meet [the PSLRA pleading] standard.”).
   8          Nor could Plaintiff do so. The Company had not made any statements about
   9   connections with Galanis, so the opinions in the Blog about Galanis’ alleged ties
  10   could not have shown any prior statements to be misleading. While Plaintiff fails
  11   to specifically identify which particular statements in the lengthy block quotes are
  12   actually being challenged,3 it is clear that many of the statements are non-
  13   actionable, accurate statements of historical fact, In re Cirrus Logic Sec. Litig., 946
  14   F. Supp. 1446, 1471 (N.D. Cal. 1996), non-actionable, inherently subjective
  15   puffery, West v. Ehealth, Inc., No. 3:15-cv-00360-JD, 2016 WL 948116, at *7
  16   (N.D. Cal. Mar. 14, 2016), or statements of opinion for which additional, necessary
  17   allegations are lacking, City of Dearborn Heights Act 345 Police & Fire Ret. Sys. v.
  18   Align Tech., Inc., 856 F.3d at 605, 615-16 (9th Cir. 2017).
  19          Plaintiff refers to the “risk disclosure” in the 3Q15 10-Q, which states that
  20   “[m]anaging reputational risk is important to attracting and maintaining customers,
  21   investors and employees.” (¶ 58.) Plaintiff does not explain how that statement
  22   was misleading, even if there had been ties between Galanis and the Company.
  23   See, e.g., Reed v. Amira Nature Foods Ltd., CV 15-0957 FMO (PJWx), 2016 WL
  24   6571281, at *7 (C.D. Cal. July 18, 2016) (plaintiff failed to adequately allege an
  25   actionable omission where it did “not provide any allegations as to why [an alleged
  26   3
        This alone makes the Complaint an improper puzzle pleading that violates Rule 8
  27   and the PSLRA, and for which dismissal is required. See, e.g., Primo v. Pac.
       Biosciences of Cal., Inc., 940 F. Supp. 2d 1105, 1112-1113 (N.D. Cal. 2013).
  28
                                                 11
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   1   omission] rendered [defendant’s] statements materially false and misleading, rather
   2   than merely incomplete.”).
   3          Plaintiff’s allegations concerning Mr. Brownstein’s purported lack of
   4   independence fail for similar reasons. Plaintiff alleges that the Company’s financial
   5   statements, which included a footnote describing “Related-Party Transactions,”
   6   omitted that Mr. Brownstein was not independent. (¶ 59(b).) But the descriptions
   7   of Related-Party Transactions did not mention Brownstein, his independence, or
   8   whether he had any involvement in approving any of those transactions. (Ex. 8 at
   9   65.) The Related-Party Transaction footnote merely provides accurate descriptions
  10   of prior transactions. In re Cirrus Logic, 946 F. Supp. at 1471(holding that accurate
  11   statements of historical fact are not actionable.).
  12                 3.     The purportedly concealed information was public and,
                            therefore, immaterial, in any event
  13
  14          Even if Plaintiff could surmount the fatal defects already discussed, Plaintiff
  15   would still be unable to allege falsity adequately with respect to any challenged
  16   statement for another reason: The allegedly “concealed” information regarding the
  17   Company’s alleged associations with Galanis, and Mr. Brownstein’s alleged lack of
  18   independence, was not concealed at all. Instead, as stated in the Blog—on which
  19   Plaintiff wholly relies—all of the information was publicly available. (Ex 12 at 2
  20   (“All information for this article was derived from publicly available
  21   information.”).)
  22          Publicly available information—like that at issue her—is immaterial as a
  23   matter of law. See, e.g., In re Bank of Am. AIG Disclosure Sec. Litig., 980 F. Supp.
  24   2d 565, 577 (S.D.N.Y. 2013) (“Because the substance of the alleged omissions was
  25   already in the public domain, the alleged omissions could not have altered ‘the total
  26   mix of information available’ to the public and were also immaterial as a matter of
  27   law.” (citing Basic, 485 U.S. 224 at 231-32)), aff’d. 566 F. App’x 93 (2d Cir.
  28   2014); White v. H&R Block, Inc., No. 02 Civ. 8965(MBM), 2004 WL 1698628, at
                                                  12
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   1   *12 (S.D.N.Y. July 28, 2004) (“[T]he facts here show that all the information
   2   plaintiffs claim was concealed by defendants was publicly available . . . and on
   3   these facts the law renders defendants’ purported misstatements immaterial.”).
   4   Materiality, of course, is a necessary aspect of falsity under Section 10(b).
   5   Accordingly, Plaintiff fails to allege adequately that any of the allegedly
   6   “concealed” information was “concealed” at all, and therefore fails to allege
   7   adequately materiality. This too is independently fatal to Plaintiff’s claims
   8   concerning Galanis and Mr. Brownstein. See, e.g., In re Cutera Sec. Litig., 610
   9   F.3d 1103, 1111 (9th Cir. 2010).
  10          B.     Plaintiff’s Allegations Concerning the Material Weaknesses in
                     Internal Controls Are Irrelevant
  11
  12          Although the Complaint refers to the Company’s disclosure on March 1,
  13   2017 that it had identified a material weakness in internal controls as of September
  14   30, 2017, the Complaint does not explain how that disclosure—long after the end of
  15   the Class Period—is relevant. (See ¶¶ 92-93.) It is not. That disclosure did not
  16   reveal any prior statement of the Company to be false or misleading. To the
  17   contrary, that discussion noted that “no material misstatement was identified in the
  18   financial statements” as a result of these material weaknesses. (Ex. 7 at 192.)
  19          C.     The Company Did Not Have a Duty to Disclose the Winston &
                     Strawn Investigation
  20
  21          Plaintiff asserts that the Company violated the securities laws by failing to
  22   disclose that it initiated an investigation into matters related to Galanis long before
  23   the Blog was published on October 18, 2016. (¶ 4.) But Banc had no duty to
  24   announce it was conducting an investigation. As stated, a company has a duty not
  25   to mislead, and Plaintiff does not claim that any prior statement was misleading
  26   because the Company failed to disclose the Winston & Strawn investigation.
  27          Further, the investigation by Winston & Strawn concluded that Galanis did
  28   not control the Company. (See Ex. 1.) Plaintiff does not explain how it is
                                                  13
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   1   misleading to fail to disclose an investigation that turned up no wrongdoing and did
   2   not result in any need to correct a prior statement.
   3          Finally, even if the Winston & Strawn investigation had turned up improper
   4   ties between Galanis and the Company, and the Company had disclosed its
   5   findings, that would not mean the Company should have disclosed the initiation of
   6   the investigation. It is well-settled that “taking time to investigate a situation prior
   7   to disclosing the situation to the investing public is not fraudulent.” In re Yahoo!
   8   Inc. Sec. Litig., No. C 11-02732 CRB, 2012 WL 3282819, at *22 (N.D. Cal. Aug.
   9   10, 2012), aff’d. 611 F. App’x 387 (9th Cir. 2015); see also In re HP Sec. Litig.,
  10   No. C 12-05980 CRB, 2013 WL 6185529, at *10 (N.D. Cal. Nov. 26, 2013)
  11   (same); Higginbotham v. Baxter Int’l, Inc., 495 F.3d 753, 761 (7th Cir. 2007)
  12   (“Taking the time necessary to get things right is both proper and lawful. Managers
  13   cannot tell lies but are entitled to investigate for a reasonable time, until they have a
  14   full story to reveal.”).
  15          D.     Plaintiff Fails to Plead Particularized Facts Showing a Materially
                     False Statement Regarding the Winston & Strawn Investigation
  16
  17          Plaintiff next asserts that the Company admitted on January 23, 2017 that its
  18   October 18, 2016 press release “misled investors about the independence of its
  19   investigation into the ties between Galanis and Banc insiders and had overstated the
  20   degree of contact between Banc and regulators.” (¶ 88.) As the release itself
  21   makes clear, the Company merely relayed a Special Committee’s conclusions and
  22   made no such admissions.
  23          The Complaint contains no allegations, however, demonstrating that any one
  24   of these “inaccurate” statements was materially false, as is required in order for a
  25   misrepresentation to be actionable. A statement is materially false only if “there is
  26   a substantial likelihood that the disclosure of the omitted fact would have been
  27   viewed by a reasonable investor as having significantly altered the total mix of
  28   information made available.” Basic, 485 U.S. at 231-32 (internal quotation marks
                                                  14
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   1   and citation omitted). “Although determining materiality in securities fraud cases
   2   should ordinarily be left to the trier of fact, conclusory allegations of law and
   3   unwarranted inferences are insufficient to defeat a motion to dismiss for failure to
   4   state a claim.” Cutera, 610 F.3d at 1108 (internal quotation marks and citation
   5   omitted).
   6          Here, the Complaint offers no allegations concerning the materiality of these
   7   statements, and rests solely on the allegations that inaccurate statements were made.
   8   This is insufficient. See In re Hansen Nat. Corp. Sec. Litig., 527 F. Supp. 2d 1142,
   9   1161 (C.D. Cal. 2007) (“Simply alleging misstatements were made is a woefully
  10   insufficient basis for finding that the misrepresentations are ‘material’ as a matter of
  11   law. If a misrepresentation is material simply because it is a misrepresentation,
  12   then the law’s materiality requirement is altogether meaningless.” (internal
  13   quotation marks and citation omitted)).
  14   III.   PLAINTIFF FAILS TO PLEAD PARTICULARIZED FACTS
              SUFFICIENT TO SHOW SCIENTER
  15
  16          Even if Plaintiff had alleged adequately a material false statement or
  17   omission—they did not—dismissal would still be required because Plaintiff has
  18   failed to allege adequately the required element of scienter. “This is an independent
  19   basis” for dismissal. Apollo, 774 F.3d at 607.
  20          The PSLRA requires plaintiffs to allege “with particularity facts giving rise
  21   to a strong inference” that a defendant acted with “the required state of mind,” 15
  22   U.S.C. § 78u-4(b)(2), which is an “intent to deceive, manipulate, or defraud.” Ernst
  23   & Ernst v. Hochfelder, 425 U.S. 185, 193 n.12 (1976). Under the PSLRA, an intent
  24   to deceive must be alleged “in great detail, [by] facts that constitute strong
  25   circumstantial evidence of deliberately reckless or conscious misconduct.” In re
  26   Silicon Graphics Sec. Litig., 183 F.3d at 974. The “inference of scienter must be
  27   more than merely plausible or reasonable—it must be cogent and at least as
  28
                                                  15
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   1   compelling as any opposing inference of non-fraudulent intent.” Tellabs, Inc. v.
   2   Makor Issues & Rights, Ltd., 551 U.S. 308, 314 (2007).
   3          The Ninth Circuit has adopted a two-step analysis for reviewing scienter
   4   allegations. First, the Court must determine “whether any of the plaintiff’s
   5   allegations, standing alone, are sufficient to create a strong inference of scienter.”
   6   Zucco, 552 F.3d at 992. Second, if no individual allegation is sufficient, the court
   7   must “conduct a ‘holistic’ review of the same allegations to determine whether the
   8   insufficient allegations combine to create a strong inference of intentional conduct
   9   or deliberate recklessness.” Id. Here, the Complaint does not come close to
  10   meeting these “[e]xacting pleading requirements.” Tellabs, 551 U.S. at 313.
  11          A.     Plaintiff Pleads No Facts Showing Any Defendant Acted with
                     Scienter in “Concealing” the Alleged “Associations” between the
  12                 Company and Galanis, or Mr. Brownstein’s Alleged Lack of
                     Independence
  13
              “To establish that a corporate defendant, such as [the Company], acted with
  14
       scienter, a plaintiff must usually show that one or more of its directors or officers
  15
       acted with scienter.” Erickson v. Corinthian Colls., Inc., No. CV 13-7466-GHK
  16
       (PJWx), 2015 WL 12732435, at *3 (C.D. Cal. Apr. 22, 2015); see also In re Impac
  17
       Mortg. Holdings, Inc., 554 F. Supp. 2d 1083, 1101 n.12 (C.D. Cal. 2008).
  18
       Moreover, “[w]here, as here, the Plaintiff[] seek[s] to hold individuals and a
  19
       company liable,” it must “allege scienter with respect to each of the individual
  20
       defendants.” Apollo, 774 F.3d at 607.
  21
              Plaintiff pleads no facts showing any Defendant acted with scienter in
  22
       “concealing” the alleged “associations” between the Company and Galanis, or Mr.
  23
       Brownstein’s alleged lack of independence. On this point, the Company refers also
  24
       to the separate briefs filed by Mr. McKinney and Mr. Sugarman.
  25
              With respect to Mr. McKinney, Plaintiff pleads no particularized facts
  26
       showing that he had knowledge of either alleged fact. This alone makes it
  27
       impossible for Plaintiff to establish that Mr. McKinney acted with scienter in
  28
                                                  16
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   1   “concealing” the information. See, e.g., Petrie v. Elec. Game Card, Inc., No.
   2   SACV 10-00252 DOC (RNBx), 2011 WL 13130015, at *7 (C.D. Cal. Oct. 19,
   3   2011) (Defendant “could not have had the required scienter because he did not
   4   know of the [information] he was alleged to have omitted from his statements . . . .
   5   An absence of knowledge precludes a finding of scienter on the basis of that
   6   knowledge.”).
   7          With respect to Mr. Sugarman, while Plaintiff argues that knowledge may be
   8   inferred from the allegations in the Blog, “mere knowledge . . . does not
   9   automatically translate into the actual intent to defraud investors. The important
  10   issue is . . . whether defendants knew or should have known that their failure to
  11   disclose those facts presented a danger of misleading buyers . . . .” Id. (quotation
  12   marks, citation and alterations omitted). There are no such facts alleged here. This
  13   is especially true given the information contained in the Blog was admittedly
  14   “publicly available.” Under such circumstances, it makes no sense that anyone
  15   could believe that “concealing” that information would mislead investors—there
  16   was no concealment to begin with.
  17          B.     Plaintiff Pleads No Facts Showing Any Defendant Acted with
                     Scienter in “Concealing” the Investigation by Winston & Strawn
  18
  19          Plaintiff likewise pleads no facts showing any Defendant acted with scienter
  20   in “concealing” the Company’s investigation of topics related to the Blog. It makes
  21   no sense that Defendants were trying to mislead investors by not disclosing the
  22   mere existence of an investigation that ultimately concluded Galanis did not control
  23   the Company.
  24          This is especially true given the Company had no duty to disclose the
  25   investigation in the first place. See supra Section II.C.
  26
  27
  28
                                                 17
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   1          C.     Plaintiff Pleads No Facts Showing Any Defendant Acted with
                     Scienter with Respect to the October 18, 2016 Press Release
   2
   3          Even if the Special Committee determined that it was inaccurate to refer to
   4   the investigation by Winston & Strawn as “independent,” without disclosing that
   5   the firm had previously represented the Company and Mr. Sugarman, it does not
   6   raise any inference—much less the requisite strong inference—that any Defendant
   7   was trying to mislead investors by not disclosing these separate representations.
   8   Given that the Special Committees’ investigation, with the assistance of
   9   WilmerHale, reached the same conclusion that Winston & Strawn reached
  10   regarding Galanis, it is implausible that Defendants were trying to mislead about
  11   the Winston investigation by omitting Winston’s prior work.
  12          Likewise, the fact that the Special Committee deemed it inaccurate to refer to
  13   the Company’s contact with regulators as “regular” does not suggest that
  14   Defendants were trying to mislead investors. Plaintiff does not even attempt to
  15   explain why any investor would care whether “contacts” with regulators about the
  16   Company’s investigation regarding Galanis were “regular” rather than sporadic.
  17          Regarding Mr. McKinney, there is no allegation that he knew about Winston
  18   & Strawn’s prior work or about the regularity of contact between the Company and
  19   regulators, nor any allegation that Mr. McKinney made any of the “inaccurate”
  20   statements in the press release. See, e.g., City of Royal Oak Ret. Sys. v. Juniper
  21   Networks, Inc., 880 F. Supp. 2d 1045, 1070 (N.D. Cal. 2012) (“A defendant can be
  22   held liable under § 10(b) for a false or misleading statement only if the defendant
  23   ‘made’ the statement.”). Nor does Plaintiff allege that Mr. Sugarman was involved
  24   in the investigation in any way that would cause him to understand that any of the
  25   statements in the press release were “inaccurate” when made.
  26
  27
  28
                                                 18
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   1          D.     The Resignations of Mr. Sugarman, Mr. McKinney, and Mr.
                     Brownstein Do Not Establish a Strong Inference of Scienter
   2
   3          Plaintiff argues that the resignations of Mr. Sugarman, Mr. McKinney, and
   4   Mr. Brownstein are somehow indicative of scienter. Plaintiff is incorrect.
   5   “Resignations or terminations by themselves do not support a strong inference of
   6   scienter.” In re Downey Sec. Litig., No. CV 08-3261-JFW (RZx), 2009 WL
   7   736802, at *10 (C.D. Cal. Mar. 18, 2009). As, the Ninth Circuit has made clear,
   8                 Absent allegations that the resignation at issue was
                     uncharacteristic when compared to the defendant’s
   9                 typical hiring and termination patterns or was
                     accompanied by suspicious circumstances, the inference
  10                 that the defendant corporation forced certain employees
                     to resign because of its knowledge of the employee’s role
  11                 in the fraudulent representations will never be as cogent
                     or as compelling as the inference that the employees
  12                 resigned or were terminated for unrelated personal or
                     business reasons.
  13
  14   Zucco, 552 F.3d at 1002. There are no such allegations here with respect to any of
  15   the resignations. Luna v. Marvell Tech. Grp. Ltd., No. 15-cv-05447-RMW, 2016
  16   WL 5930655, at *13 (N.D. Cal. Oct. 12, 2016) (“Plaintiff does not allege any facts,
  17   other than the general timing of the departures, to suggest that they were connected
  18   to any purported wrongdoing or fraudulent activity.”) (internal quotation and
  19   citations omitted)); In re Cornerstone Propane Partners, L.P. Sec. Litig., 355 F.
  20   Supp. 2d 1069, 1093 (N.D. Cal. 2005) (finding that “notable departures” of
  21   executives—whether they were terminated or resigned—“are not in and of
  22   themselves evidence of scienter”).
  23   IV.    PLAINTIFF FAILS TO PLEAD PARTICULARIZED FACTS
              SUFFICIENT TO SHOW LOSS CAUSATION
  24
  25          “[T]he absence of an adequate pleading of material misstatements or
  26   omissions necessarily means Plaintiff has not alleged sufficient facts to show loss
  27   causation.” In re Intrexon Corp. Sec. Litig., No. 16-cv-02398-RS, 2017 WL
  28
                                                19
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   1   732952, at *7 (N.D. Cal. Feb. 24, 2017). This fact notwithstanding, Plaintiff fails
   2   to allege loss causation adequately for a number of other reasons.
   3          To allege loss causation adequately, Plaintiff “must plausibly allege that the
   4   defendant’s fraud was ‘revealed to the market and caused the resulting losses.’”
   5   Loos v. Immersion Corp., 762 F.3d 880, 887 (9th Cir. 2014) (alterations in original)
   6   (citation omitted). “The key is adequately alleging that the event or series, by
   7   revealing a previously unknown fraud, caused defendant’s stock price to decline.”
   8   In re Herbalife, Ltd. Sec. Litig., No. CV 14-2850 DSF (JCGx), 2015 WL 1245191,
   9   at *1 (C.D. Cal. Mar. 16, 2015). Plaintiff “must state with particularity the
  10   circumstances constituting” loss causation as required by Fed. R. Civ. P. 9(b).
  11   Apollo, 774 F.3d at 605.
  12          Here, Plaintiff appears to allege its losses were caused by drops in the price
  13   of the Company’s stock price following two “corrective disclosures”: (1) the
  14   October 18, 2016 Blog and (¶ 7); and (2) the Company’s January 23, 2017
  15   announcements. (¶ 90.) However, no aspect of these disclosures is sufficient to
  16   establish loss causation. Plaintiff’s failure to allege loss causation adequately is
  17   independently fatal to the Complaint and alone requires its dismissal.
  18          A.     The Blog Was Not a Corrective Disclosure
  19          The Blog was not a corrective disclosure and cannot support loss causation
  20   for at least two reasons. First, the Blog itself states that it was based entirely on
  21   “public available information.” Second, the Blog itself also states that it merely
  22   reflects the author’s “opinion.” On account of either of these facts, it is clear that
  23   the Blog did not—and could not—reveal any fraud.
  24          The Blog states repeatedly that it was based entirely on “publicly available
  25   information.” (Ex. 12 at 2 (“All information for this article was derived from
  26   publicly available information.”); id. at 4 (same)). Numerous courts have made
  27   clear, however, that “the mere repackaging of already-public information by an
  28   analyst or short-seller is simply insufficient to constitute a corrective disclosure.”
                                                  20
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   1   Herbalife, 2015 WL 1245191, at *4 n.7 (citations omitted); see also In re Blue
   2   Earth, Inc. Sec. Class Action Litig., No. CV 14-08263-DSF (JEMx), 2015 WL
   3   12001274, at *2 (C.D. Cal. Nov. 3, 2015) (short seller report was not corrective
   4   disclosure where it was “a compilation of publicly available information”);
   5   Intrexon, 2017 WL 732952 at *7 (short seller report was not corrective disclosure
   6   where it “clearly attributes its findings to public filings, websites and other publicly
   7   available documents”); Bonanno v. Cellular Biomedicine Grp., Inc., No. 15-cv-
   8   01795-WHO, 2016 WL 4585753, at *5 (N.D. Cal. Sept. 2, 2016) (because short
   9   seller report “only collected and opined on already public information, it does not
  10   constitute disclosure of ‘the truth’ as required for a corrective disclosure” (citation
  11   omitted)); cf. Loos, 762 F.3d at 889 (agreeing with reasoning of the Eleventh
  12   Circuit that loss causation is not established when the information in an alleged
  13   corrective disclosure “had been derived entirely from public filings and other
  14   publicly available sources of which the stock market was presumed to be aware”)
  15   (citation omitted)). The reason for this is clear: “[I]f the information relied upon in
  16   forming an opinion was previously known to the market, the only thing actually
  17   disclosed to the market when the opinion is released is the opinion itself, and such
  18   an opinion, standing alone, cannot ‘reveal[ ] to the market the falsity’ of a
  19   company’s prior factual representations.” Meyer v. Greene, 710 F.3d 1189, 1199
  20   (11th Cir. 2013).
  21          Moreover, here, the Blog expressly acknowledges that it merely constitutes
  22   Aurelius’s opinion. (Ex. 12 at 2 (“This articles represents the opinion of the author
  23   as of the date of this article.”).) This too prevents the Blog from constituting a
  24   corrective disclosure, since an opinion does not reveal a truth. See, e.g., Loos, 762
  25   F.3d at 890 n.3 (corrective disclosure must “reveal to the market [a] pertinent truth”
  26   (quotation omitted)); see also Intrexon, 2017 WL 732952, at *7 (short seller report
  27   was not a corrective disclosure where it stated that it “‘expresses [] research
  28   opinions’”); Bonanno, 2016 WL 4585753, at *4 (“Plaintiffs have not adequately
                                                  21
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   1   pleaded how the [short seller report] constitutes ‘true facts’ rather than a mere
   2   opinion.” (citation omitted)). This makes good sense. “If every . . . short-seller’s
   3   opinion based on already-public information could form the basis for a corrective
   4   disclosure, then every investor who suffers a loss in the financial markets could sue
   5   under § 10(b) using [a short-seller’s] negative analysis of public filings as a
   6   corrective disclosure. That cannot be—nor is it—the law.” Meyer, 710 F.3d at
   7   1199.
   8           Plaintiff’s failure to allege adequately that the Blog was a corrective
   9   disclosure is fatal to all claims relying on the Blog.
  10           B.    Plaintiff Fails to Plead Particularized Facts Showing that the
                     Company’s January 23, 2017 Announcements Support Loss
  11                 Causation
  12
               Plaintiff also alleges that the Company’s announcements on January 23, 2017
  13
       show loss causation. On that day, the Company announced, among other things:
  14
       (1) the resignation of Mr. Sugarman; (2) the SEC’s issuance of “a formal order of
  15
       investigation” and subpoena to the Company concerning primarily the Blog “and
  16
       associated public statements”; and (3) inaccurate statements in the October 18,
  17
       2016 press release. (¶ 88-89.) Plaintiff fails to plead particularized facts showing
  18
       that any one of these disclosures supports loss causation.
  19
                     1.     The announcement of Mr. Sugarman’s resignation does not
  20                        support loss causation
  21           Plaintiff fails to plead particularized facts supporting loss causation with
  22   respect to the announcement of Mr. Sugarman’s resignation. Resignations of a
  23   company’s executives do not support loss causation where “plaintiffs do not
  24   explain the connection—if any—between the resignations and the alleged [fraud].”
  25   In re Verisign, Inc. Deriv. Litig., 531 F. Supp. 2d 1183, 1208 (N.D. Cal. 2007).
  26   Rather, Plaintiff must plead particularized facts indicating that the executives “had
  27   resigned because they were involved in” the alleged fraud. Id. Without such
  28   allegations, courts routinely hold that officer resignations are insufficient to plead
                                                   22
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   1   loss causation. See In re Lululemon Sec. Litig., 14 F. Supp. 3d 553, 587 (S.D.N.Y.
   2   2014) (plaintiffs failed to plead loss causation where they “did not allege that the
   3   announcement of [the executive’s] resignation itself revealed any fraud”); Bach v.
   4   Amedisys, Inc., No. 10-395-BAJ, 2012 U.S. Dist. LEXIS 185986, at *35 (M.D. La.
   5   Jun. 28, 2012) (“[T]he resignation must somehow reveal actual evidence of fraud
   6   for a corrective disclosure to occur.”); Glaser v. The 9, Ltd., 772 F. Supp. 2d 573,
   7   598 (S.D.N.Y. 2011) (requiring “independent facts [to] indicate that the resignation
   8   was somehow tied to the fraud alleged”).
   9          Here, the Complaint pleads no facts connecting Mr. Sugarman’s resignation
  10   to the alleged fraud. Nor could it. The same day that Mr. Sugarman’s resignation
  11   was announced, the Company also disclosed, with respect to the Special
  12   Committee’s investigation into matters raised by the Blog: “[C]ontrary to the
  13   claims in the [Blog], the inquiry has not found evidence that Jason Galanis has any
  14   direct or indirect control or undue influence over the Company [or] that any loan,
  15   related party transaction, or any other circumstance has impaired the independence
  16   of any director.” (Ex. 2 at 1.) Accordingly, Mr. Sugarman’s resignation cannot
  17   support loss causation.
  18                 2.     The announcement of the SEC’s investigation does not
                            support loss causation
  19
  20          Plaintiff also fails to plead particularized facts supporting loss causation with
  21   respect to the announcement of the SEC investigation. In Loos, the Ninth Circuit
  22   made clear that the announcement of an investigation is insufficient to establish loss
  23   causation:
  24                 The announcement of an investigation does not “reveal”
                     fraudulent practices to the market. Indeed, at the moment
  25                 an investigation is announced, the market cannot possibly
                     know what the investigation will ultimately reveal.
  26                 While the disclosure of an investigation is certainly an
                     ominous event, it simply puts investors on notice of a
  27                 potential future disclosure of fraudulent conduct.
                     Consequently, any decline in a corporation’s share price
  28                 following the announcement of an investigation can only
                                                  23
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   1                 be attributed to market speculation about whether fraud
                     has occurred. This type of speculation cannot form the
   2                 basis of a viable loss causation theory. Accordingly, we
                     hold that the announcement of an investigation, without
   3                 more, is insufficient to establish loss causation.
   4
       762 F.3d at 890; see also Herbalife, 2015 WL 1245191, at *6 (“Disclosure of the
   5
       investigation, unaccompanied by any contemporaneous or subsequent finding or
   6
       admission of fraud, does not establish loss causation.” (citing Loos, 762 F.3d at
   7
       888-91)); Rok v. Identiv, Inc., No. 15-cv-5775-CRB, 2017 WL 35496, at *20 (N.D.
   8
       Cal. Jan. 4, 2017) (relying on Loos and finding that t]he announcement of an
   9
       investigation does not cause loss causation” because “it does not reveal fraud but
  10
       only the risk of fraud”). Plaintiff does not allege anything “more” here. There is no
  11
       basis under which the disclosure of the SEC’s investigation may support loss
  12
       causation.
  13
                     3.     The announcement regarding the October 18, 2016 press
  14                        release does not support loss causation
  15
              Finally, Plaintiff fails to plead particularized facts supporting loss causation
  16
       with respect to Banc’s January 23, 2017 announcement regarding the October 18,
  17
       2016 statements. (See supra Section IV.B.) To plead loss causation, Plaintiff must
  18
       allege facts showing “that the stock price was impacted by the specific disclosures”
  19
       at issue as opposed to other “negative information” that was revealed the same day.
  20
       In re Blue Earth, Inc. Sec. Litig., 2015 WL 12001274, at *3 (citing Loos, 762 F.3d
  21
       at 887; Metzler, 540 F.3d at 1062). “While the fraudulent misrepresentation need
  22
       not be the sole cause of the decreased stock price, plaintiff must still demonstrate
  23
       that the fraudulent statement was a substantial or significant cause of the decline in
  24
       price.” Id. (quotations omitted); see also Identiv, 2017 WL 35496, at *18 (“The
  25
       SAC also fails to account for alternative explanations for the share price decreases
  26
       in May 2015—for example, that delayed SEC filings could enhance [the
  27
  28
                                                  24
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   1   company’s] risk of being delisted—thereby failing to adequately allege the requisite
   2   causal connection.”). Plaintiff fails to meet that burden here.
   3          There are no facts alleged in the Complaint demonstrating that the statements
   4   concerning the October 18, 2016 statements were “a substantial or significant cause
   5   of the decline in price” of the Company’s stock, as opposed to other revelations
   6   made the same day, including the announcements of Mr. Sugarman’s resignation
   7   and the SEC investigation. Indeed, the Complaint itself alleges these
   8   announcements caused some portion of the purported losses. (¶ 108.)
   9   V.     PLAINTIFF FAILS TO STATE A CLAIM UNDER SECTION 20(A)
  10          To establish liability under Section 20(a), Plaintiff must first prove a primary
  11   violation of the federal securities law, which Plaintiff has failed to do. Howard v.
  12   Everex Sys., Inc., 228 F.3d 1057, 1065 (9th Cir. 2000). See supra Sections II-IV;
  13   see also, e.g., Rigel Pharms., 697 F.3d at 886.
  14                                       CONCLUSION
  15          For the foregoing reasons, the Complaint should be dismissed. Moreover,
  16   because the Complaint suffers from several deficiencies that cannot be cured,
  17   dismissal should be with prejudice.
  18
  19   Dated:       June 30, 2017               MORRISON & FOERSTER LLP
                                                MARK R. MCDONALD
  20
  21                                            By:    Mark R. McDonald
                                                       Mark R. McDonald
  22
                                                Attorneys for Defendant Banc of
  23                                            California, Inc.
  24
  25
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                                                  25
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